     Case 20-03060-sgj         Doc 100   Filed 02/17/23 Entered 02/17/23 17:00:34        Desc Main
                                         Document     Page 1 of 4




The following constitutes the ruling of the court and has the force and effect therein described.




Signed February 17, 2023
______________________________________________________________________




                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION

      In re:                                            §        Case No. 18-30264-SGJ-11
                                                        §        Case No. 18-30265-SGJ-11
      ACIS CAPITAL MANAGEMENT, L.P.,                    §
      ACIS CAPITAL MANAGEMENT GP,                       §        (Jointly Administered Under Case
      LLC,                                              §        No. 18-30264-SGJ-11)
                                                        §
               Debtors.                                 §        Chapter 11

      ACIS CAPITAL MANAGEMENT, L.P.,                    §
      ACIS CAPITAL MANAGEMENT GP,                       §
      LLC, Reorganized Debtors,                         §        Adversary No. 20-03060-SGJ
                                                        §
               Plaintiffs,                              §
                                                        §
      vs.                                               §
                                                        §
      JAMES DONDERO, FRANK                              §
      WATERHOUSE, SCOTT ELLINGTON,                      §
      HUNTER COVITZ, ISAAC LEVENTON,                    §
      JEAN PAUL SEVILLA, THOMAS                         §
      SURGENT, GRANT SCOTT, HEATHER                     §
      BESTWICK, WILLIAM SCOTT, AND                      §
      CLO HOLDCO, LTD.,                                 §
           Defendants.                                  §
                   ORDER GRANTING IN PART AND DENYING IN PART ACIS’
                    MOTION TO COMPEL COMPLIANCE WITH SUBPOENA
Case 20-03060-sgj          Doc 100       Filed 02/17/23 Entered 02/17/23 17:00:34                     Desc Main
                                         Document     Page 2 of 4



        Upon consideration of (a) Acis’ Motion to Compel Compliance with Subpoena, and all

documents submitted in support thereof (the “Motion”) [Docket Nos. 89 and 90], with respect to

the Amended Subpoena (the “Subpoena”) served by the Plaintiffs (together, “Acis”) in the above-

referenced adversary proceeding (the “Adversary Proceeding”) on Highland Capital Management,

L.P. (“Highland” and together with Acis, the “Parties”) [see Docket No. 90-2 (Exhibit 7)]; (b)

Highland Capital Management, L.P.’s Response to Acis’ Motion to Compel Compliance with

Subpoena, and all documents submitted in support thereof [Docket Nos. 93-96]; (c) Acis’ Response

in Support of Motion to Compel Compliance, and all documents submitted in support thereof

[Docket No. 98]; (d) counsels’ arguments made during a hearing conducted on January 26, 2023

(the “Hearing”); and (e) the Parties’ agreement to the terms of this Order (as indicated by counsel’s

signatures below), the Court:

        1. GRANTS the Motion only to the following extent and ORDERS that (1) the relevant

             timeframe of the Subpoena is June 1, 2016 to October 15, 2019; (2) Highland must

             produce documents relevant to HarbourVest to the extent identified using modified

             search terms previously agreed to between the Parties;1 and (3) Highland must

             produce attorney communications and potentially privileged communications

             contained within the set of pre-petition e-mail documents previously produced in

             Kirschner v. Dondero, et. al, Adv. Pro. No. 21-03076-sgj (Bank. N.D. Tex.) (the

             “Kirschner Action”), within 30 calendar days of this Order, to the extent identified

             by search terms previously agreed to between the Parties. Documents produced

             pursuant to part (3) of this paragraph shall be subject to the limitations set forth in

             paragraph 13 of the Agreed Protective Order in Kirschner Action [Adv. Pro. No. 21-



1
 Counsel for the Parties informed the Court during the Hearing that an agreement was reached on limited search terms
concerning “HarbourVest” and that Highland had completed its production of such documents.
Case 20-03060-sgj    Doc 100     Filed 02/17/23 Entered 02/17/23 17:00:34         Desc Main
                                 Document     Page 3 of 4



         03076, Docket No. 202], except that such documents may also be used in this

         Adversary Proceeding.

      2. The Court further ORDERS that Highland shall complete the document production

         required by this Order within 30 calendar days of this Order unless such 30-day

         period is extended by written agreement of the parties or upon good cause shown.

      3. All relief requested in the Motion and not specifically granted in paragraph 1 is

         DENIED.

      4. This ORDER resolves all issues and requests made in the Motion.


                                 ### END OF ORDER ###
Case 20-03060-sgj    Doc 100    Filed 02/17/23 Entered 02/17/23 17:00:34   Desc Main
                                Document     Page 4 of 4



ORDER SUBMITTED BY:

/s/ Shawn Bates________
AHMAD, ZAVITSANOS & MENSING, PLLC
Joseph Y. Ahmad
Texas Bar No. 00941100
Federal Bar No. 11604
Shawn M. Bates
Texas Bar No. 24027287
Federal Bar No. 30758
Alex Dvorscak
Texas Bar No. 24120461
Christian Adriatico
Texas Bar No. 24113366
1221 McKinney St. Suite 2500
Houston, Texas 77010
(713) 655-1101 Telephone
(713) 655-0062 Facsimile
joeahmad@azalaw.com
sbates@azalaw.com
advorscak@azalaw.com
cadriatico@azalaw.com

COUNSEL FOR PLAINTIFFS AND
REORGANIZED DEBTORS

/s/ John Morris
PACHULSKI STANG ZIEHL & JONES LLP
Jeffrey N. Pomerantz (CA Bar No. 143717) (admitted pro hac vice)
John A. Morris (NY Bar No. 2405397) (admitted pro hac vice)
Gregory V. Demo (NY Bar No. 5371992) (admitted pro hac vice)
Hayley R. Winograd (NY Bar No. 5612569) (admitted pro hac vice)
10100 Santa Monica Blvd., 13th Floor
Los Angeles, CA 90067
Telephone: (310) 277-6910
Facsimile: (310) 201-0760
Email: jmorris@pszjlaw.com

HAYWARD PLLC
Melissa S. Hayward (Texas Bar No. 24044908)
Zachery Z. Annable (Texas Bar No. 24053075)
10501 N. Central Expy, Ste. 106
Dallas, Texas 75231
Telephone: (972) 755-7100
Facsimile: (972) 755-7110

COUNSEL FOR HIGHLAND CAPITAL MANAGEMENT, L.P.
